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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

Laura Harmon, individually and on behalf of                        3:22-cv-50091
all others similarly situated,
                                  Plaintiff,

                    - against -

Pharmavite LLC,
                                  Defendant
                MOTION FOR EXTENSION OF THE DEADLINE OF THE
                           INITIAL STATUS REPORT

        Plaintiff moves the Court, pursuant to Fed. R. Civ. P. 6(b), for an Order extending the date

by which the parties are required to file the Initial Status Report (“Report”), due August 16, 2022,

until August 29, 2022, based on the following facts.

        1.    The Complaint was filed on March 26, 2022. ECF No. 1.

        2.    On June 24, 2022, this Court granted Plaintiff’s motion to extend the deadline of the

Report to be due by August 16, 2022. ECF No. 12.

        3.    The parties have reached an agreement in principle and expect to dismiss this action

within two weeks.

        4.    Plaintiff requests the date by which the Report is due be extended until August 29,

2022.

        5.    This Motion is not made on consent, as Defendant has not appeared in this action.

        6.    This Motion is not presented to cause unnecessary delay, or for an improper purpose.

        7.    Two prior adjournments of the Report were requested and granted.

        8.    The extension does not affect any other scheduled dates.
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       WHEREFORE, Plaintiff respectfully requests that the Court enter an Order extending the

date by which the parties are required to file the Report from August 16, 2022, to August 29, 2022.

Dated: August 15, 2022
                                                        Respectfully submitted,

                                                        /s/Spencer Sheehan
                                                        Sheehan & Associates, P.C.
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